       Case 3:20-cv-00435-LRH-WGC Document 17 Filed 10/20/20 Page 1 of 5



 1   LAW OFFICES OF DALE K. GALIPO
     Dale K. Galipo (Pro Hac Vice Ca. Bar No. 144074)
 2   dalekgalipo@yahoo.com
     Eric Valenzuela (Pro Hac Vice Bar No. 284500)
 3   evalenzuela@galipolaw.com
     21800 Burbank Boulevard, Suite 310
 4   Woodland Hills, California 91367
     Telephone:     (818) 347-3333
 5   Facsimile:     (818) 347-4118
 6   Peter Goldstein [SBN 6992]
     PETER GOLDSTEIN LAW CORP
 7   peter@petergoldsteinlaw.com
     10161 Park Run Drive, Suite 150
 8   Las Vegas, Nevada 89145
     Telephone:     (702) 474-6400
 9   Facsimile:     (888) 400-8799

10   Attorney for Plaintiffs

11
                                   UNITED STATES DISTRICT COURT
12
                                 FOR THE DISTRICT OF NEVADA (RENO)
13

14   JENNIFER ANDERSON and                                   Case No. 3:20-cv-00435-LRH-WGC
     FREDRICK WAID, as the appointed co-
15   special administrators of the estate of
     ROBERT ANDERSON JR.; JENNIFER
16
     ANDERSON; JENNIFER ANDERSON,
17   as parent and guardian of M.R.A., a
     minor; JENNIFER ANDERSON, as
18   parent and guardian of S.G.A., a minor,
19                  Plaintiffs,
20
            vs.
21
     LYON COUNTY; and DOES 1-10,
22   inclusive,
23
                    Defendants.
24

25                             DISCOVERY PLAN AND SCHEDULING ORDER
                               SPECIAL SCHEDULING REVIEW REQUESTED
26
              1.    Meeting: Pursuant to FRCP 26(f) and LR 26-1(a), a telephonic meeting was held on
27
                    October 19, 2020 and was attended by: Eric Valenzuela, Esq. for Plaintiffs; and
28
                    Katherine F. Parks for Defendants.

                                                         1
     Case 3:20-cv-00435-LRH-WGC Document 17 Filed 10/20/20 Page 2 of 5




 1            The parties will exchange the initial disclosures within 14 days of the Rule 26-1
 2            Conference in accordance with Rule 26(a)(C).
 3

 4       2.   Discovery Plan: The parties jointly propose the following discovery plan:
 5            (a)    Subject of Discovery: Discovery will be needed in the following subject: All
 6                   claims set forth in the original complaint, as well as the defenses relevant to
 7                   the action.

 8            (b)    Discovery Cut-off Dates: The parties believe it is too early in the case to have
 9                   a meaningful settlement discussion and given the current situation with

10                   COVID-19, the parties’ request 180 days from the date of the exchange of the

11                   Initial Disclosures which is November 2, 2020, rather than the date the first

12                   defendant appeared, which was September 3, 2020. Therefore, the discovery

13                   cut-off date will be May 21, 2021.

14            (c)    Disclosure of Experts: Disclosure of experts shall proceed according to FRCP

15                   26(a)(2), except that:

16                   (1)    the disclosure of experts and expert reports shall occur on March 22,

17                          2021, which is sixty (60) days before the discovery cut-off date; and

18                   (2)    the disclosure of rebuttal experts and their reports shall occur on April

19                          21, 2021 which is thirty (30) days before the discovery cut-off date.

20            (d)    Alternative Dispute Resolution and Case Disposition: Pursuant to LR 26-

21                   1(b)(8) and FRCP 73, the parties discussed trial by a magistrate judge and the

22                   possibility of alternative dispute resolutions and the Short Trial Program; the

23                   Plaintiff and the Defendant do not agree that any of the foregoing are

24                   appropriate for this case.

25            (e)    FRCP 26-1(b)(9) – Electronic Evidence: The parties certify that they have

26                   discussed whether they intend to present evidence in electronic format to

27                   jurors for the purposes of jury deliberation. Although not known at this time
28                   which exhibits will be electronically presented, the parties stipulate that they

                                                  2
     Case 3:20-cv-00435-LRH-WGC Document 17 Filed 10/20/20 Page 3 of 5




 1                  will provide discovery in an electronic format compatible with the Court’s
 2                  electronic jury evidence display system. The parties stipulate that they will
 3                  contact the courtroom administrator for instructions about how to prepare
 4                  evidence in an electronic format and other requirements for the Court’s
 5                  electronic jury evidence system.
 6       3.   Other Items
 7            (a)   Amending the Pleadings and Adding Parties. The parties have until February

 8                  20, 2021 to file a motion to amend the pleadings or to add parties. This is

 9                  ninety (90) days before the discovery cut-off date and does not extend the

10                  outside limit LR 26-1(e)(2) presumptively sets for ninety (90) days before the

11                  discovery cut-off date of filing such motions.

12            (b)   Interrogatories and Depositions: The parties agree to the customary total

13                  number of interrogatories of 25 per party; the parties may agree to more

14                  interrogatories by mutual agreement or application to the Court. The parties

15                  also agree to no more than ten (10) depositions by Plaintiff and no more than

16                  ten (10) depositions by Defendants as provided in Rule 30(a)(2)(A)(i).

17                  However, the parties may agree to more depositions by mutual agreement or

18                  application to Court.

19            (c)   Dispositive Motions: The parties shall have until June 20, 2021 to file

20                  dispositive motions. This is thirty (30) days after the discovery cut-off date

21                  and does not exceed the outside limit of thirty (30) days following the

22                  discovery cut-off date that LR 26-1(e)(4) presumptively sets for filing

23                  dispositive motions.

24            (d)   Settlement: The parties have initially addressed the issue of settlement and

25                  agree to continue to enter into meaningful negotiations prior to and during the

26                  discovery phase of this litigation but both sides require exchange of initial

27                  disclosures to properly assess their respective cases and defenses.
28

                                                3
      Case 3:20-cv-00435-LRH-WGC Document 17 Filed 10/20/20 Page 4 of 5




 1                    (e)   The Pretrial Order: The pretrial order shall be filed by July 20, 2021 which is
 2                          not more than thirty (30) days after the date set for filing dispositive motions

 3                          in this case. This deadline is suspended if the dispositive motion is timely

 4                          filed. The disclosures required by FRCP 26(a)(3) shall be made in the joint

 5                          pretrial order.

 6                    (f)   Court Conference: The parties do not request a conference with the court

 7                          before the entry of the scheduling order.

 8                    (g)   Later Appearing Parties: A copy of the discovery plan and scheduling order
 9                          shall be served on any person served after it is entered, or, if an additional

10                          defendant should appear within five days of their first appearance. This

11                          discovery plan scheduling order shall apply to such later appearing parties,

12                          unless the Court on motion for good cause shown, orders otherwise.

13                    (h)   Extension or Modification of the Discovery Plan and Scheduling Order: LR

14                          26-4 governs modifications or extensions of this discovery plan scheduling

15                          order. Any stipulation or motion must be made not later than twenty-one (21)

16                          days before the subject deadline date and comply fully with LR 26-4.

17   Activity                                           Date
18   Amend Pleadings                                    Tuesday, February 20, 2021
19   Expert Disclosures                                 Thursday, March 22, 2021
20   Rebuttal Expert Disclosures                        Friday, April 21, 2021
21   Discovery Cut-Off Date                             Monday, May 21, 2021
22   Dispositive Motions                                Wednesday, June 20, 2021
23   Pretrial Order                                     Friday, July 20, 2021
24

25

26   APPROVED AS TO FORM AND CONTENT:

27
28

                                                        4
       Case 3:20-cv-00435-LRH-WGC Document 17 Filed 10/20/20 Page 5 of 5




 1   DATED:10/16/2020                              DATED: __10/16/2020

 2   THORNDAL ARMSTRONG DELK                       LAW OFFICES OF DALE K. GALIPO
     BALKENBUSH & EISINGER
 3

 4
     By: _s/ Katherine F. Parks                    By: ___s/ Eric Valenzuela
 5     Katherine F. Parks (SBN 6227)                   Eric Valenzuela
        6590 S. McCarran Blvd., Suite B               (Pro Hac Vice Ca. Bar No. 144074)
 6      Reno, Nevada 89509                             21800 Burbank Blvd., Suite 310
       Attorneys for Defendants                       Woodland Hills, California 91367
 7                                                     Attorneys for Plaintiffs
 8

 9

10

11                                            ORDER
12         IT IS SO ORDERED
13
           DATED this 20th day of October, 2020.
14

15
                                             UNITED STATES MAGISTRATE JUDGE
16
17

18

19

20

21

22

23

24

25

26

27
28

                                                   5
